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                                UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF RHODE ISLAND (Providence)

   In Re:                                                  Case No. 1:18-bk-10071
   David W. Wagner                                         Chapter 7

      DEUTSCHE BANK NATIONAL TRUST
      COMPANY, AS TRUSTEE FOR SOUNDVIEW
      HOME LOAN TRUST 2006-OPT5, ASSET-
      BACKED CERTIFICATES, SERIES 2006-OPT5
       its successors or assigns,

                           Movant.

      v.

      DAVID W. WAGNER,

                           Debtor.

           MEMORANDUM OF LAW IN SUPPORT OF MOTION OF MOVANT FOR RELIEF FROM
                                 THE AUTOMATIC STAY

                                              INTRODUCTION:
           The facts of this case and motion are more specifically spelled out in the Motion for Relief from

Automatic Stay filed herewith to which the Court is referred. In the Motion, Deutsche Bank National

Trust Company, as Trustee for Soundview Home Loan Trust 2006-OPT5, Asset-Backed Certificates,

Series 2006-OPT5 (“Movant”) requests relief from stay in order to pursue its remedies under state law to

liquidate its secured claim against the property of the estate of the David W. Wagner (hereinafter the

"Debtor") by foreclosure of its mortgage. The Debtor has defaulted on the mortgage payments both pre

and post-petition, and thus Movant is not being adequately protected. Furthermore, there is no equity in

the property such that the Chapter 7 Trustee has no interest in it.


                                                ARGUMENT:
           Section 362 (d) (2) of the Bankruptcy Code states in relevant part that the Court may terminate

the automatic stay “if the debtor does not have equity in such property.” As set forth in Movant’s motion

the Debtor does not have equity in the property, thus permitting this Court to terminate the stay as regards

this property.


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                                               CONCLUSION:
          For the foregoing reasons, Movant respectfully requests that this Court enter an order lifting the

automatic stay in effect in order to permit Movant to proceed to exercise its rights and remedies under

state law and under a certain note and mortgage, including but not limited to foreclosure.


Date: February 5, 2018

                                                   Respectfully submitted,
                                                   Deutsche Bank National Trust Company, as Trustee for
                                                   Soundview Home Loan Trust 2006-OPT5, Asset-Backed
                                                   Certificates, Series 2006-OPT5
                                                   By its attorney,

                                                   /s/ Catherine V. Eastwood
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